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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 24-cv-00001-STV


   NATIONAL ASSOCIATION FOR GUN RIGHTS,
   CHRISTOPHER JAMES HIESTAND RICHARDSON,
   MAX EDWIN SCHLOSSER,
   JOHN MARK HOWARD, and
   ROCKY MOUNTAIN GUN OWNERS,

           Plaintiffs,

   v.

   JARED S. POLIS, in his official capacity as Governor of the State of Colorado,

           Defendant.

   ____________________________________________________________________________

                      DECLARATION OF JOSEPH GREENLEE
   ____________________________________________________________________________

           Pursuant to 28 U.S.C. § 1746, I, Joseph Greenlee, declare under penalty of perjury that

   the following is true and correct:

           1.      Plaintiffs have asked me to prepare an expert declaration for disclosure under

   FRCP 26(a)(2)(B), addressing the historical tradition of privately made firearms in America.

           2.      This Declaration is based on my personal knowledge and experience. I could and

   would testify competently to the truth of the matters discussed in this Declaration if called to

   testify as a witness in this case.




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   Background and Qualifications

          3.      I operate Greenlee Law, PLLC, in McCall, Idaho, where I focus on practicing

   law as well as conducting historical research related to the American tradition of arms use and

   regulation. I have been a Policy Advisor for Legal Affairs at the Heartland Institute since 2019

   and a Research Associate in Constitutional Law at the Independence Institute since 2023. From

   2019 to 2022, I was the Director of Constitutional Studies at the Firearms Policy Coalition. And

   I held the same title at the FPC Action Foundation from 2021 to 2023. A substantial portion of

   my work at both the Firearms Policy Coalition and the FPC Action Foundation involved

   researching and writing about the American tradition of arms use and regulation.

          4.      I have published 14 scholarly research articles in the field of Second

   Amendment law, including 9 articles that focus on the historical use and regulation of arms in

   America. An additional article, about the historical use and regulation of armor in America, will

   be submitted to law reviews for consideration this week. All the publications I have authored in

   the last 10 years are listed in Exhibit A.

          5.      My historical research about the use and regulation of arms in America has been

   cited in roughly 90 court opinions, including by the United States Supreme Court in New York

   State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 30 (2022), as well as the highest courts of

   three States and Puerto Rico, six federal circuit courts of appeals, and 31 federal district courts.

   Dozens of these opinions upheld firearm restrictions.

          6.      My historical research about the tradition of privately made firearms in America

   was cited by the majority opinion in VanDerStok v. Garland, 23-10718, at 7, 22 (5th Cir. Nov.

   09, 2023), as well as the concurring opinion, id. at 32 (Oldham, J., concurring).



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           7.       I have taught Continuing Legal Education courses about firearms law in

   Colorado, Virginia, Texas, and Maine.

           8.       In the past four years, I have testified by declaration in Palmer v. Sisolak, 3:21-

   cv-00268-MMD-CSD (D. Nev.), about the historical tradition of privately made firearms. I

   have not been deposed nor testified in court.

           9.       I have been retained by Plaintiffs to render expert opinions in this case. I am

   being compensated at an hourly rate of $400 for preparing this Declaration, providing expert

   testimony, and travel. My compensation is not contingent on the results of my analysis or the

   substance of any testimony.

           10.      My opinions expressed in this Declaration are based on my expertise, research,

   and experiences involving the traditional regulations and uses of the right to keep and bear arms

   in American history.

   Summary of Opinions

      I.         Americans have been building privately made firearms since the colonial era.

           11.      My research confirms that firearms were essential to daily life in colonial

   America. Firearms were needed for food, self-defense, community defense, and conquest.1

   Consequently, there was a strong emphasis on increasing the number of arms in colonial

   America, and the knowledge and ability to produce arms was encouraged. Knowledge of

   building firearms started in the colonies with gunsmiths, who were extremely important and




      1
        1 CHARLES WINTHROP SAWYER, FIREARMS IN AMERICAN HISTORY 1 (1910) (“Everywhere
   the gun was more abundant than the tool. It furnished daily food; it maintained its owner’s
   claims to the possession of his homestead among the aboriginal owners of the soil; it helped to
   win the mother country’s wars for possession of the country as a whole.”).
                                                     3
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   highly valued in their communities. “From the earliest periods American gunsmiths had made

   and repaired military firearms.”2

            12.     The historical record further reflects that gunsmiths and armorers appeared along

   with new English settlements.3 “It is possible that English blacksmith James Read repaired

   firearms at Jamestown in 1607 though no concrete evidence supports that contention.”4 More

   certainly, there was an armorer in Plymouth Colony by 1621,5 a gunsmith in the Massachusetts

   Bay Colony by 1630,6 gunsmiths in Maryland by 16317—a year before it was chartered—and

   an armorer in New Haven by 1640.8 In colonial Virginia, “the importance of gunsmithing” was

   evidenced by the fact that “[g]unsmiths were found nearly everywhere: in port towns along the

   coast, in settled inland areas, and—probably the busiest ones—on the frontier.”9

            13.     Firearms historian Charles Winthrop Sawyer explained that “[i]n the large

   gunsmith shops of the cities it is probable that many minds were given to the making of a gun,”

   but “in the smaller shops which formed the great majority—mere cabins on the outskirts of the

   wilderness—one man with or without an apprentice did every part of the work.”10 The




      2
          HAROLD L. PETERSON, ARMS AND ARMOR IN COLONIAL AMERICA 178 (1956).
      3
      An “armorer” was “A maker of armor or arms; a manufacturer of instruments of war.” 1
   NOAH WEBSTER, AMERICAN DICTIONARY OF THE ENGLISH LANGUAGE (1828) (unpaginated).
      4
       M. L. BROWN, FIREARMS IN COLONIAL AMERICA: THE IMPACT ON HISTORY AND
   TECHNOLOGY, 1492–1792, at 149 (1980).
      5
          Id.
      6
          Id.
      7
          Id. at 150.
      8
          Id.
      9
          HAROLD B. GILL, JR., THE GUNSMITH IN COLONIAL VIRGINIA 1 (1974).
      10
           1 SAWYER, FIREARMS IN AMERICAN HISTORY, supra note 1, at 145.
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   gunsmiths who built their arms entirely themselves did not always achieve perfection, but their

   arms were adequate to serve the frontiers:

                  Those lone, isolated workers were men of wonderful resource;
                  poor, and without machinery, they not only made guns but also the
                  tools with which to do their work. They were ignorant of science,
                  and they cared nothing for cause, but they were skilful [sic] in
                  effect. They could not calculate in advance the chamber pressure in
                  foot-tons, the velocity of the bullet, bearing surface, friction,
                  trajectory, flip, drift, penetration, and work in accord with the
                  calculations; they did not bore their barrels correct to the five
                  thousandth part of an inch; they could not cut all the grooves of
                  exactly the same width and depth; but after the gun was done they
                  adjusted the bullet, the powder, and the sights until the rifle would
                  shoot into the bull’s-eye at a measured distance—perhaps a two-
                  inch bull’s-eye at eight rods would do for the average, some would
                  better it.11

            14.   According to another firearms historian, J.F. Hayward, “[t]he gun makers who

   turned out Kentucky rifles . . . were capable of producing the whole gun, working, that is, in

   iron, brass and wood.”12 But he notes that “[a]fter the Revolutionary War the chances were that

   the lock of a Kentucky would have been imported from England, while the barrel would have

   been purchased from a specialist barrel-smith.”13

            15.   Throughout the colonial era, gunsmiths proliferated throughout the colonies

   wherever there were people. “The number of gunsmiths active in North America dramatically

   escalated with the inordinate population explosion during the first quarter of the eighteenth

      11
         Id. at 145–46; see also HENRY J. KAUFFMAN, EARLY AMERICAN IRONWARE: CAST AND
   WROUGHT 111–13 (1956) (“It is known that, at times, a gun was made by a number of
   craftsmen; and that at other times, a complete gun was made by one man. It is also apparent that
   much forge work was required to forge and weld a gun barrel, to forge and fit the lock parts,
   and to forge iron mountings such as the trigger guard, the butt plates and other small parts.”);
   JAMES B. WHISKER, THE GUNSMITH’S TRADE 5 (1992) (“In small shops one tradesman
   performed all operations required to make a gun. . . . There was no division of labor.”).
      12
           2 J.F. HAYWARD, THE ART OF THE GUNMAKER 273 (1963).
      13
           Id.
                                                   5
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   century.”14 In total, it is estimated that more than 4,000 gunsmiths and armorers operated in

   colonial America.15 Thus, “the evidence is clear that gunsmiths were very common in Colonial,

   Revolutionary, and Early Republic America.”16

             16.    The significant number of gunsmiths throughout the colonies reflected the

   colonists’ widespread dependence on firearms manufacturing and repair. Indeed, “[t]he

   influence of the gunsmith and the production of firearms on nearly every aspect of colonial

   endeavor in North America cannot be overstated[.]”17

             17.    Professor DeLay emphasizes the difference between gunsmiths who made

   firearms “from scratch” and those who made firearms “with a mix of self-made components

   and imported locks and/or barrels.”18 The difference is immaterial—both categories of

   gunsmiths “made” firearms. Historical and modern dictionaries both make this clear. In 1773,

   Samuel Johnson defined “Make” as both “To create” and “To form of materials.”19 In 1828,

   Noah Webster defined “MAKE” as both “To form of materials; to fashion; to mold into shape;

   to cause to exist in a different form, or as a distinct thing” and “To create; to cause to exist; to

   form from nothing.”20 Today, Random House Webster’s defines “make” as “to bring into




       14
            BROWN, FIREARMS IN COLONIAL AMERICA, supra note 4, at 242.
       15
            WHISKER, THE GUNSMITH’S TRADE, supra note 11, at 74.
       16
       CLAYTON E. CRAMER, LOCK, STOCK, AND BARREL: THE ORIGINS OF AMERICAN GUN
   CULTURE 30 (2018).
       17
        BROWN, FIREARMS IN COLONIAL AMERICA, supra note 4, at 149. Brown adds that the
   gunsmiths’ “pervasive influence continuously escalated following the colonial era.” Id.
       18
            Resp. Appx., DeLay Dec., pp. 024–30, ¶¶ 39–47.
       19
        1 SAMUEL JOHNSON, DICTIONARY OF THE ENGLISH LANGUAGE (4th ed. 1773)
   (unpaginated).
       20
            2 WEBSTER, AMERICAN DICTIONARY OF THE ENGLISH LANGUAGE, supra note 3.
                                                     6
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   existence by shaping, changing, or combining material” and “to put together; form.” 21 And

   Merriam-Webster’s defines “make” as “to bring into being by forming, shaping, or altering

   material” and “to put together from components.”22 Thus, all gunsmiths who made firearms—

   whether from scratch or with imported parts—contributed to the American tradition of privately

   made firearms.

            18.      As for ammunition, the record indicates that homemade gunpowder was the only

   gunpowder produced in America until the first powder mill appeared in 1666.23 Additionally,

   “[l]ike gunpowder manufacture, casting bullets was a common household enterprise” in

   colonial America.24

      II.         Americans depended on privately made arms during the Revolutionary War
                  after Britain imposed a ban on the importation of arms.

            19.      In discussing the Revolutionary War, Professor DeLay alludes to the perilous

   arms shortage that confronted the Americans and—without discussing the cause of the

   shortage—asserts that the argument that the Americans relied on “domestic production” to

   address the shortage is “surprising because it is at odds with what most professional historians

   know about the war.”25 Rather, he says, the Americans were saved by “massive imports of

   firearms.”26 Professor DeLay elides the fact that the shortage was so dire because the British

   prohibited the importation of arms into the colonies. Without the ability to import large



      21
           RANDOM HOUSE WEBSTER’S COLLEGIATE DICTIONARY 820 (1995).
      22
           MERRIAM-WEBSTER’S COLLEGIATE DICTIONARY 702 (10th ed. 1996).
      23
           BROWN, FIREARMS IN COLONIAL AMERICA, supra note 4, at 127.
      24
           Id. at 128.
      25
           Resp. Appx., DeLay Dec., p. 033, ¶ 53.
      26
           Id.
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   quantities of arms, the colonists had no choice but to rely on domestic production until they

   figured out how to circumvent the embargo.

            20.    As tensions increased between Great Britain and its North American colonies,

   Britain attempted to cutoff the colonists’ ability to acquire arms. Before imposing the embargo

   on arms imports, the British began seizing control of powder houses, either confiscating the

   colonists’ powder or preventing them from accessing it.27 One of the most controversial events

   leading up to the war occurred on September 1, 1774, when Massachusetts’s Royal Governor

   Thomas Gage “sent a Party of Two hundred men” to the Charlestown powder house,28 where

   they seized “two hundred and fifty half barrels of powder, the whole store there.”29 False

   rumors that British soldiers had shot Americans while seizing the gunpowder set off the

   “Powder Alarm” throughout New England. The colonists took up arms to confront the British,

   and in the process, provided a glimpse into the commonality of homemade arms-making. A

   gentleman from Litchfield, Connecticut, wrote about the incident:

                   all along were armed men rushing forward, some on foot, some on
                   horseback; at every house women and children making cartridges,

      27
         Boston Merchant John Andrews wrote on July 22, 1774, that Massachusetts’s Royal
   Governor “order’d the Keeper of the Province’s Magazine not to deliver a kernel of powder
   (without his express order) of either public or private property.” LETTERS OF JOHN ANDREWS,
   ESQ., OF BOSTON, 1772–1776, at 19 (Winthrop Sargent ed., 1866). On September 2, Andrews
   reported that “A Guard of Soldiers is set upon the Powder house at the back of ye. Common, so
   that people are debar’d from selling their own property.” Id. at 39. On September 21, Andrews
   added that “it’s now five or six weeks since the Governor has allow’d any [powder] to be taken
   out of the magazine here, whereby for some weeks there has not been a pound to be sold or
   bought in town.” Id. at 52. On November 2, 1774, Governor Gage explained to his superior in
   London his “order to the Storekeeper not to deliver out any Powder from the Magazine, where
   the Merchants deposite it,” as well as his decision to “remov[e] the Ammunition from the
   Provincial Arsenal at Cambridge.” Letter from Thomas Gage to Earl of Dartmouth (Nov. 2,
   1774), in 1 AMERICAN ARCHIVES, ser. 4, 951 (Peter Force ed., 1843).
      28
           Rowe, LETTERS AND DIARY OF JOHN ROWE, supra note 27, at 283–84.
      29
           1 AMERICAN ARCHIVES, ser. 4, supra note 27, at 762.
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                  running bullets, making wallets, baking biscuit, crying and
                  bemoaning, and at the same time animating their husbands and
                  sons to fight for their liberties[.]30

   The Revolutionary War began on April 19, 1775, when Governor Gage dispatched soldiers to

   Concord to “seize and destroy all artillery, ammunition, provisions, tents, small arms, and all

   military stores whatever.”31 Some of the Americans who confronted the British soldiers in

   Lexington “had brought along a handful of homemade musket balls.”32

           21.    On October 19, 1774, King George issued the first order barring the importation

   of arms and ammunition into America.33 Lord Dartmouth, as Secretary of State, wrote that day

   “to the Governors in America,” notifying them of “His Majesty’s Command that [the

   governors] do take the most effectual measures for arresting, detaining and securing any

   Gunpowder, or any sort of arms or ammunition, which may be attempted to be imported into

   the Province under your Government.”34 The ban on imports initially applied for six months,




      30
         Charles Clark, The 18th Century Diary of Ezra Stiles, 208 N. AM. REV. 410, 419 (Sept.
   1918). Another provocative gunpowder confiscation effort occurred on the evening of April 20,
   1775, when Virginia’s Governor, Lord Dunmore, had the gunpowder confiscated from the
   magazine in Williamsburg, Virginia. The response was so fierce that it ultimately ended royal
   control of the colony. See BROWN, FIREARMS IN COLONIAL AMERICA, supra note 4, at 298;
   O.W. Stephenson, The Supply of Gunpowder in 1776, 30 AM. HIST. REV. 271, 272 (1925).
      31
        Letter from Gov. Gage to Lieut. Col. Smith (Apr. 18, 1775), in ARTHUR TOURTELLOT,
   LEXINGTON AND CONCORD: THE BEGINNING OF THE WAR OF THE AMERICAN REVOLUTION 103
   (1959).
      32
        DAVID HARSANYI, FIRST FREEDOM: A RIDE THROUGH AMERICA’S ENDURING HISTORY
   WITH THE GUN 43 (2018).
      33
        5 ACTS OF THE PRIVY COUNCIL OF ENGLAND, COLONIAL SERIES, A.D. 1766–1783, at 401
   (2005) (James Munro & Almeric Fitzroy eds., 1912).
      34
       Letter from Earl of Dartmouth to the Governors in America (Oct. 19, 1774), in 8
   DOCUMENTS RELATIVE TO THE COLONIAL HISTORY OF THE STATE OF NEW YORK 509 (1857).
                                                   9
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  but was continuously renewed throughout the war.35 “Orders” were soon “given for the seizing

  every Ship, of what Nation soever, employed in conveying Arms or Ammunition to the

  Americans.”36

           22.    In addition to banning arms imports and confiscating arms, “the British”

  previously “prohibited any large-scale manufacturing facility for guns in the colonies.”37 And

  prior to May 1775, there may have been only one powder mill in operation.38

           23.    The resulting arms shortage crippled the Americans leading up to the

  Revolutionary War and during its early stages. On July 10, 1775, General George Washington

  complained, “We are so exceedingly destitute [of gunpowder], that our artillery will be of little

  use. . . . What we have must be reserved for the small arms, and that managed with the utmost

  frugality.”39 The following month, Brigadier General John Sullivan informed the Continental

  Congress that “we have not powder Enough in the whole army to furnish half a pound a




     35
       See David B. Kopel, How the British Gun Control Program Precipitated the American
  Revolution, 6 CHARLESTON L. REV. 283, 297 (2012).
     36
        PROVIDENCE GAZETTE, Jan. 14, 1775, reprinted in 1 NAVAL DOCUMENTS OF THE
  AMERICAN REVOLUTION 62 (William Bell Clark ed., 1964); see also 1 FRANK MOORE, DIARY
  OF THE AMERICAN REVOLUTION 61 (1860) (entry of Apr. 4, 1775) (explaining that the British
  deployed in the Atlantic “several capital ships of war, and six cutters . . . to obstruct the
  American trade, and prevent all European goods from going there, particularly arms and
  ammunition.”); STEPHEN P. HALBROOK, THE FOUNDERS’ SECOND AMENDMENT 64 (2008)
  (discussing a “letter from Bristol” explaining that “several frigates” were “to be stationed” in
  America “in order to cruise along the coasts, to prevent any ammunition or arms being sent to
  the Americans by any foreign power”).
     37
          HARSANYI, FIRST FREEDOM, supra note 30, at 68.
     38
       David L. Salay, The Production of Gunpowder in Pennsylvania During the American
  Revolution, 99 PENN. MAG. HIST. & BIOGRAPHY 422, 423 (Oct. 1975).
     39
       Letter from General Washington to the President of Congress (July 10, 1775), in 3 THE
  WRITINGS OF GEORGE WASHINGTON; BEING HIS CORRESPONDENCE, ADDRESSES, MESSAGES,
  AND OTHER PAPERS, OFFICIAL AND PRIVATE 22 (Jared Sparks ed., 1833).

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  man.”40 Sullivan added that Washington “was so struck” by the shortage “that he did not utter a

  word for half an hour.”41 Washington warned about the “melancholy situation” later that month,

  declaring that “the existence of the army, and the salvation of the Country, depends upon

  something being done” to acquire gunpowder.42 Washington continued to worry over the

  winter, complaining on December 25, 1775, that “[o]ur want of powder is inconceivable,” and

  lamenting on January 14, 1776, that the army was operating “without any money in our

  treasury, powder in our magazines, arms in our stores.”43 Concern over the arms shortages was

  widespread and widely recognized as threatening the Americans’ hopes for independence.

  Indeed, “[t]he writings of civil and military leaders of the time are crowded with expressions

  bewailing the scarcity of powder; and many a military movement was either not attempted or

  was abandoned because of this lack.”44 While John Adams referred to gunpowder as “the Unum

  Necessarium,” or the one necessity, the firearms shortage was also perilous. Joseph Hewes,

  who represented North Carolina in the Continental Congress and signed the Declaration of

  Independence,45 complained on November 9, 1775, that:

                  Arms and Ammunition . . . are very scarce throughout all the
                  Colonies. I find on enquiry that neither can be got here, all the
                  Gunsmiths in this Province are engaged and cannot make Arms

     40
        Letter from General Sullivan to the Committee of Safety (Aug. 5, 1775), in 7
  DOCUMENTS AND RECORDS RELATING TO THE PROVINCE OF NEW-HAMPSHIRE, FROM 1764 TO
  1776, at 572 (Nathaniel Bouton ed., 1873).
     41
          Id.
     42
        1 GEORGE WASHINGTON, THE LIFE OF GENERAL WASHINGTON 142 (Charles W. Upham
  ed., 1851).
     43
      Letter from George Washington to Joseph Reed (Jan 14, 1776), in 4 THE WRITINGS OF
  GEORGE WASHINGTON, supra note 39, at 241.
     44
          Stephenson, The Supply of Gunpowder in 1776, supra note 30, at 280.
     45
       SANDERSON’S BIOGRAPHY OF THE SIGNERS OF THE DECLARATION OF INDEPENDENCE 666–
  68 (Robert T. Conrad ed., 1846).
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                  near so fast as they are wanted. Powder is also very Scarce
                  notwithstanding every effort seems to have been exerted both to
                  make and import.46

  On February 13, 1776, Hewes expressed frustration over the effectiveness of the British arms

  embargo and declared that “Americans ought to be more industrious in making those articles at

  home, every Family should make saltpetre, every Province have powder Mills and every body

  encourage the making of Arms.”47

           24.    It is in this context that the role of privately made firearms in the Revolutionary

  War must be understood. Although the Americans sometimes succeeded in circumventing

  Britain’s prohibition on imports,48 arms imports were severely curtailed, particularly in the

  early stages of the war.49 At that point, the Americans turned to privately made arms.

           25.    As Professor DeLay notes, the Americans were confident in their ability to make

  arms.50 This confidence reflected a widespread understanding that many Americans throughout


     46
      Letter from Joseph Hewes to Samuel Johnston (Nov. 9, 1775), in 10 THE COLONIAL
  RECORDS OF NORTH CAROLINA, 1775–1776, at 314 (William L. Saunders ed., 1890).
     47
      Letter from Joseph Hewes to Samuel Johnston (Feb. 13, 1776), in THE COLONIAL
  RECORDS OF NORTH CAROLINA, supra note 46, at 447.
     48
         See, e.g., VA. GAZETTE, Apr. 22, 1775, at 1 (“It is beyond doubt that six large ships sailed
  lately, three from Holland, and the rest from France, with arms, ammunition, and other
  implements of war, for our colonies, and more are absolutely preparing for the same place.”);
  DANIEL A. MILLER, SIR JOSEPH YORKE AND ANGLO-DUTCH RELATIONS 1774–1780, at 41
  (1970) (“eighteen Dutch ships . . . left Amsterdam” in May 1776, “with powder and
  ammunition for America,” in addition to “powder shipments disguised as tea chests, rice
  barrels, et cetera.”).
     49
        See, e.g., PA. GAZETTE, Dec. 21, 1774, at 2 (“Two vessels, laden with gun-powder and
  other military utensils, bound for [America], were stopped at Gravesend . . . by the out clearers,
  in consequence of the King’s proclamation.”); MILLER, SIR JOSEPH YORKE, supra note 48, at 39
  (explaining that a British cutter in October 1774 intercepted a Rhode Island vessel that “had
  been sent expressly to load different sorts of firearms, and had already taken on board forty
  small pieces of cannon.”).
     50
          Resp. Appx., DeLay Dec., pp. 034–35, ¶ 54.
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  the colonies knew how to produce firearms and gunpowder. Before long, provincial congresses

  began encouraging and depending on these Americans to produce firearms and gunpowder to

  support the war effort.

           26.   Massachusetts’s First Provincial Congress adopted a resolution on December 8,

  1774, noting that “firearms have been manufactured in several parts of this colony” and

  “recommend[ing] the making [of] gun-locks” by the colony’s inhabitants, as well as “the

  making of saltpetre [for gunpowder], as an article of vast importance.”51 On February 15, 1775,

  Massachusetts’s Second Provincial Congress directed the towns and districts within the colony

  to “encourage such persons as are skilled in the manufacturing of firearms and bayonets,

  diligently to apply themselves thereto, for supplying such of the inhabitants as may still be

  deficient.”52 The Congress promised to purchase “so many effective arms and bayonets as can

  be delivered in a reasonable time[.]”53 In March of 1775, the Congress inquired into the

  “number of men . . . in the province acquainted with the business of making firearms,”

  presumably to determine how many firearms might be domestically produced.54 That

  November, the Congress declared that “it is of the utmost Importance to the Welfare and

  Happiness of these Colonies, that the Manufacturing of Fire Arms & Provisions of Military

  Stores be effectually promoted & encouraged,” and resolved to purchase “every effective &



     51
       Report of the First Provincial Congress of Massachusetts (Dec. 8, 1774), in THE
  JOURNALS OF EACH PROVINCIAL CONGRESS OF MASSACHUSETTS IN 1774 AND 1775, AND OF THE
  COMMITTEE OF SAFETY 63–64 (William Lincoln ed., 1838).
     52
       Report of the Second Provincial Congress of Massachusetts (Feb. 15, 1775), in THE
  JOURNALS OF EACH PROVINCIAL CONGRESS OF MASSACHUSETTS, supra note 35, at 103.
     53
          Id.
     54
       Report of the Second Provincial Congress of Massachusetts (Mar. 23, 1775), in THE
  JOURNALS OF EACH PROVINCIAL CONGRESS OF MASSACHUSETTS, supra note 35, at 110.
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  Substantial Fire Arm” that met certain specifications.55 Further, “for the Accommodation &

  convenience of such Manufacturers,” military officers were empowered to purchase “all Fire-

  Arms which Shall be offered them for Sale & manufactured as aforesaid.”56 Finally, the

  Congress allocated one hundred pounds for “an Armorer or some other Judicious Person” to

  invest in “Steel, Files & other Tools necessary to carry on [a firearms] manufactory.”57

           27.         In May 1775, Connecticut guaranteed five shillings “for every stand of arms,

  including a good lock, that shall be manufactured within this Colony,” and one shilling and six

  pence “for every good gun-lock that shall be made and manufactured within this Colony.”58

           28.         Maryland’s Provincial Convention appointed a committee “to enquire into the

  practicability of establishing a manufactory of Arms within this Province,” which determined

  on August 2, 1775, that “Arms may be furnished sooner, and at less expense by engaging

  immediately all Gun Smiths, and others concerned in carrying on that business.”59 The

  Committee observed that many gunsmiths operated within colony, and “apprehend[ed] that

  from the great encouragement Artificers in this business will receive, their number will soon be

  greatly increased.”60 The next month, Maryland’s Council of Safety, “desirous of forwarding

  the Intentions of the Convention in promoting the Manufacture of Salt, Saltpetre, Gunpowder,

  and fire Arms,” sought proposals in an advertisement in the Maryland Gazette from “any

     55
      19 THE ACTS AND RESOLVES, PUBLIC AND PRIVATE, OF THE PROVINCE OF THE
  MASSACHUSETTS BAY 134–35 (1918).
     56
          Id. at 135.
     57
          Id.
     58
        THE PUBLIC RECORDS OF THE COLONY OF CONNECTICUT, FROM MAY, 1775, TO JUNE,
  1776, INCLUSIVE 17 (Charles J. Hoadly ed., 1890).
     59
       Report of the Maryland Convention (Aug. 2, 1775), in 11 ARCHIVES OF MARYLAND 64–
  65 (William Hand Browne ed., 1892).
     60
          Id. at 65.
                                                      14
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  persons who are inclined to engage, on liberal Encouragement, in the Manufacture of Fire

  Arms, or to erect a powder Mill . . . or Salt, or Saltpetre-works.”61

           29.    A commission appointed in Virginia “for superintending the manufactory of

  Small-Arms” explained that it would be convening on October 10, 1775, “for the purpose of

  engaging a further number of Gunsmiths, and other artists, capable of managing that business in

  its various branches.”62 “All persons who are willing to enter into the service for a year at the

  least, and can come recommended for skill and sobriety” were “desired to attend” and would be

  compensated for “their attendance and traveling.”63

           30.    New Hampshire’s House of Representatives resolved in January 1776 to pay

  three pounds “for every good firearm Manufactured in this Colony, made” according to certain

  specifications.64

           31.    On February 24, 1776, South Carolina’s Provincial Congress appointed

  commissioners “to contract for the making, or purchasing already made, any number, not

  exceeding one thousand stand, of good Rifles,” as well as “for the making, or purchasing

  already made, one thousand stand of good smooth-bored Muskets.”65

           32.    The following month, New York’s Committee of Safety ordered that an

  advertisement “be published in all the publick Newspapers in this Colony” stating that “this


     61
      Report of the Council of Safety of Maryland (Sept. 1, 1775), in 11 ARCHIVES OF
  MARYLAND, supra note 59, at 77.
     62
          3 AMERICAN ARCHIVES, ser. 4, supra note 27, at 700.
     63
          Id.
     64
       Report of the House (Jan. 12, 1776), in 8 DOCUMENTS AND RECORDS RELATING TO THE
  STATE OF NEW-HAMPSHIRE DURING THE PERIOD OF THE AMERICAN REVOLUTION, FROM 1776
  TO 1783, at 15–16 (Nathaniel Bouton ed., 1874).
     65
          5 AMERICAN ARCHIVES, ser. 4, supra note 27, at 581.
                                                   15
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  Committee are ready to receive proposals from, and treat with, any person or persons who are

  willing to engage in manufacturing good Muskets, or the Locks, Barrels, or any necessary parts

  thereof[.]”66

            33.     John Hancock informed Washington that month that he expected the domestic

  arms production to adequately address the shortage caused by the arms embargo: “With regard

  to arms, I am afraid we shall, for a time, be under some difficulty. The importation is now more

  precarious and dangerous. To remedy this, a Committee is appointed to contract for the making

  arms; and, as there is a great number of gunsmiths in this and the neighbouring Colonies, I

  flatter myself we shall soon be able to provide ourselves without risk or danger.”67

            34.     North Carolina’s Provincial Congress established a committee to “consider the

  most practicable and expeditious method of supplying the Province with Arms, Ammunition,

  Warlike Stores, and Sulphur.”68 The committee concluded in an April 1776 report that “publick

  Manufactories” to make “good and sufficient Muskets” should be established throughout the

  colony and operated by “all Gunsmiths, and other mechanicks, who have been accustomed to

  make, or assist in making Muskets, or who may . . . be useful in carrying on such

  Manufactory.”69

            35.     Also in April 1776, Pennsylvania’s Committee of Safety agreed to pay one Mr.

  Tomlinson fifty pounds “for making publick the art of boring and grinding Gun-barrels, and

  instructing such persons as they shall require to be taught that art.”70


      66
           Id. at 1418.
      67
           Id. at 734.
      68
           Id. at 1336.
      69
           Id. at 1337–38.
      70
           Id. at 734.
                                                   16
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           36.    Great emphasis was also placed on encouraging the production of gunpowder or

  ingredients necessary for making gunpowder. In August 1774, for example, the Royal American

  Magazine published an engraving by Paul Revere demonstrating “how to refine saltpeter, an

  essential component in the making of gunpowder.”71

           37.    In May 1775, Connecticut offered ten pounds “for every fifty pounds weight of

  salt petre that shall be made and manufactured from material found in this Colony” as well as

  five pounds “for every hundred pounds weight of sulphur that shall be made and manufactured

  within this Colony from materials found in any of the British Colonies on the continent in

  America . . . and so in proportion for a greater or lesser quantity.”72

           38.    On January 3, 1776, Pennsylvania’s Committee of Safety created a committee

  “for appointing proper persons to instruct the inhabitants of the different Counties in the

  manufactory of Salt Petre” and “to fix upon the number of hand bills to be printed & distributed

  in the English & German Languages, setting forth the process for extracting and refining Salt

  Petre[.]”73 According to David Salay, who studied gunpowder production during the

  Revolution, “A number of counties responded by establishing model works and providing

  demonstrations.”74

           39.    On January 17, 1776, New York’s Committee of Safety ordered 3,000 copies of

  “essays upon the manufacture of saltpetre and gunpowder” printed for distribution throughout


     71
          HALBROOK, THE FOUNDERS’ SECOND AMENDMENT, supra note 36, at 33.
     72
          THE PUBLIC RECORDS OF THE COLONY OF CONNECTICUT, supra note 58, at 17.
     73
        10 MINUTES OF THE PROVINCIAL CONGRESS OF PENNSYLVANIA, FROM THE ORGANIZATION
  TO THE TERMINATION OF THE PROPRIETARY GOVERNMENT 443 (1852). Pennsylvania’s
  Committee of Safety at the time included Benjamin Franklin, George Clymer, Robert Morris,
  and John Dickinson, all of whom would later sign the Constitution.
     74
          Salay, The Production of Gunpowder in Pennsylvania, supra note 38, at 427.
                                                   17
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  the colony with the expectation that “the inhabitants of this Colony [will] do every thing in their

  power to supply the Continent with those necessary articles[.]”75 “Printing presses throughout

  the colonies worked overtime,” Firearms historian M. L. Brown explained, “making and

  distributing broadsides and pamphlets with explicit instructions for manufacturing gunpowder

  and locating and preparing the ingredients.”76 Historian Rick Atkinson similarly explained that

  “[s]altpeter recipes . . . appeared in American newspapers and pamphlets for patriots willing to

  collect the ‘effluvia of animal bodies’ from outhouses, barns, stables, tobacco yards, and pigeon

  coops, preferably ‘moistened from time to time with urine.’”77 Brown provided greater detail:

                  Many patriot communities operated charcoal kilns and artificial
                  niter beds, collecting human urine and taking it to a place with dry,
                  sandy soil where it was dumped and eventually leached out small
                  quantities of saltpeter. . . . [E]ven the earth under compost heaps
                  was processed to recover saltpeter, while also searched were attics,
                  caves, church steeples, lofts, and other bird rookeries. Small
                  amounts of sulphur were recovered from the earth surrounding
                  sulphurous springs and the water was distilled in the quest for that
                  vital commodity.78

           40.    Abigail Adams came across a pamphlet describing how to manufacture

  gunpowder and offered to send it to her husband in a letter dated March 31, 1776: “I have lately

  seen a small Manuscrip[t] de[s]cribing the proportions for the various sorts of powder, fit for

  cannon, small arms and pistols. If it would be of any Service your way I will get it transcribed

  and send it to you.”79


     75
       1 JOURNALS OF THE PROVINCIAL CONGRESS, PROVINCIAL CONVENTION, COMMITTEE OF
  SAFETY AND COUNCIL OF SAFETY OF THE STATE OF NEW-YORK 253–54 (1842).
     76
          BROWN, FIREARMS IN COLONIAL AMERICA, supra note 4, at 301.
     77
          RICK ATKINSON, THE BRITISH ARE COMING 127–28 (2019).
     78
          BROWN, FIREARMS IN COLONIAL AMERICA, supra note 4, at 302.
     79
      Letter from Abigail Adams to John Adams (Mar. 31, 1776), in 1 THE ADAMS PAPERS:
  ADAMS FAMILY CORRESPONDENCE 371 (Lyman H. Butterfield ed., 1963).
                                           18
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           41.    It is impossible to determine how many Americans collected ingredients for

  gunpowder or manufactured gunpowder during the war. It is also difficult to determine how

  many engaged in gunsmithing. First, there were no registration or licensing requirements for

  firearm manufacturers.80 Second, many “American gunmakers avoided putting their names or

  insignias on the firearms so that there remained few clues that might lead to retribution should

  the American experiment be squashed by the British.”81 Professor DeLay disputes this, because

  “some of the surviving guns do bear makers’ signatures or insignia. Indeed, authorities

  sometimes required gunmakers to sign the firearms they produced under contract.”82 But the

  fact that some gunmakers marked their arms does not suggest that all or even most did.

  Moreover, while at least three committees of safety purchased only firearms that included the

  identification of the gunmaker, those requirements applied only to firearms sold to those

  committees of safety.83 And even among the surviving firearms sold to committees of safety,

  arms historian George C. Neumann notes, “most were not identified by the makers who feared

  retaliation by Royal authorities.”84 In any event, Neumann estimated that “[o]ut of the more

  than 300,000 long arms used by the American line troops during the War for Independence,

     80
        See GILL, JR., THE GUNSMITH IN COLONIAL VIRGINIA, supra note 9, at 1 (“[M]any of
  these men remain obscure. They left little trace and the records reveal their names only
  incidentally.”).
     81
          HARSANYI, FIRST FREEDOM, supra note 30, at 68.
     82
          Resp. Appx., DeLay Dec., p. 035 n.98.
     83
         8 DOCUMENTS AND RECORDS RELATING TO THE STATE OF NEW-HAMPSHIRE, supra note
  64, at 16; 19 THE ACTS AND RESOLVES, PUBLIC AND PRIVATE, OF THE PROVINCE OF THE
  MASSACHUSETTS BAY, supra note 55, at 135; THE PUBLIC RECORDS OF THE COLONY OF
  CONNECTICUT, supra note 58, at 17.
     84
        George C. Neumann, American-Made Muskets In The Revolutionary War, AM.
  RIFLEMAN, Mar. 29, 2010, https://www.americanrifleman.org/content/american-made-muskets-
  in-the-revolutionary-war/; see also id. (“The great majority of surviving muskets manufactured
  by the Colonists are not identified by their maker or source.”).
                                                  19
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  probably in excess of 80,000 were the products of America’s scattered gunsmiths using mixed

  components.”85

           42.    To be sure, arms imports were essential during the war. But domestic production

  was especially critical when the Americans were determining how to circumvent Britain’s arms

  embargo. The “homegrown cottage industry” of American gunsmiths “filled a vital gap in

  arming the early regiments and continued as the major repair and maintenance sources for

  Washington’s troops until the war was won.”86 Indeed, gunsmiths and others engaged in

  making firearms were considered so essential that they were often exempted from military

  service—where they were also badly needed.87

           43.    It is also worth noting how private arms-making during the war led to

  innovation. Joseph Belton was an inventor born in Connecticut who turned his attention during

     85
        Id. Professor DeLay’s argument that the American founding-era governments
  overestimated the number of Americans capable of producing privately made firearms does not
  benefit the State. Resp. Appx., DeLay Dec., pp. 035–36, ¶¶ 55–56. If the governments believed
  that even more Americans privately made firearms than actually did, and still never regulated
  the practice, that only bolsters Plaintiffs’ argument that it was understood to be protected
  conduct.
     86
          Neumann, American-Made Muskets In The Revolutionary War, supra note 84.
     87
        See, e.g., Massachusetts Bay Council’s Response to Petition of Thomas Buckmore (Sept.
  20, 1776), in 2 AMERICAN ARCHIVES, ser. 5, supra note 27, at 783 (“Whereas it has been
  represented to this Board by Thomas Buckmore, of Concord, that he has been employed in
  making Fire-arms for this State . . . and that the Armourers actually employed in making such
  Arms are doing more essential service to the State, while thus employed, than they could do as
  soldiers. . . . Captain George Minot . . . is required and directed to discharge the said Thomas
  Buckmore and Silas Wood from the service for which they were drafted[.]”); General Assembly
  Report (Mar. 3, 1777), in 8 RECORDS OF THE STATE OF RHODE ISLAND AND PROVIDENCE
  PLANTATIONS IN NEW ENGLAND, 1776 TO 1779, at 149 (John Russell Bartlett ed., 1863) (“It is
  voted and resolved, that it be, and hereby is, recommended to the independent company of the
  Kingstown Reds, that they excuse George Tefft and Jeremiah Sheffield (who are employed in
  making and stocking guns), from doing service in said company[.]”); HISTORY OF BUCKS
  COUNTY, PENNSYLVANIA 500 (J.H. Battle ed., 1887) (“[John Fitch] was among the first to enlist
  when the revolution began; but as his services were more valuable as a gunsmith than a soldier
  he was not permitted to enter the active service.”).
                                                 20
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  the war to military-related innovations.88 Belton informed the Continental Congress on April

  11, 1777, that he had invented “a common small arm” that could “discharge sixteen, or twenty

  [rounds], in sixteen, ten, or five seconds of time.”89 That summer, Belton demonstrated his rifle

  before leading military officers—including General Horatio Gates and Major General Benedict

  Arnold—and scientists—including David Rittenhouse—who verified that “[h]e discharged

  Sixteen Balls loaded at one time.”90 Belton offered to build similar arms for the Congress,

  which ordered 100 of them,91 but the deal fell through when Belton demanded what the

  Congress deemed “an extraordinary allowance.”92 To be sure, Belton’s was not the first



     88
        For example, in a letter to Pennsylvania’s Committee of Safety, Belton proposed to
  construct a submersible machine capable of firing cannonballs at British ships:
                 I will make a Machine by the help of which, I will carry a loaded
                 cannon, two or three miles up or down any of our harbours without
                 any other assistance, and all the way there should nothing appear
                 above the surface much larger than a man’s hat, and by attracting
                 my Machine, would wholely decend under water for some time,
                 and by expanding, would rise to the surface at pleasure, and by this
                 means, to avoid any discovery when I had arrived within an
                 hundred and fifty, or two hundred yards of a Ship, I could decend
                 under the surface, and go along side of her bottom against which, I
                 could discharge the Cannon, that should be prov’d large enough to
                 send a ball through any ships side.
  Letter from Joseph Belton to Pennsylvania’s Committee of Safety (Sept. 4, 1775), in 4 SAMUEL
  HAZARD, PENNSYLVANIA ARCHIVES: SELECTED AND ARRANGED FROM ORIGINAL DOCUMENTS
  IN THE OFFICE OF THE SECRETARY OF COMMONWEALTH, CONFORMABLY TO ACTS OF THE
  GENERAL ASSEMBLY, FEBRUARY 15, 1851, & MARCH 1, 1852, at 650 (1853).
     89
       Letter from Joseph Belton to the Continental Congress (Apr. 11, 1777), in 1 PAPERS OF
  THE CONTINENTAL CONGRESS, COMPILED 1774–1789, at 123 (1957).
     90
       Letter from Joseph Belton to the Continental Congress (Jul. 10, 1777), in 1 PAPERS OF
  THE CONTINENTAL CONGRESS, COMPILED 1774–1789, supra note 89, at 139.
     91
      Report of the Continental Congress (May 3, 1777), in 7 JOURNALS OF THE CONTINENTAL
  CONGRESS 1774–1789, at 324 (Worthington Chauncey Ford ed., 1907).
     92
      Report of the Continental Congress (May 15, 1777), in 7 JOURNALS OF THE CONTINENTAL
  CONGRESS 1774–1789, supra note 91, at 361.
                                                 21
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  privately made repeating arm in America. For example, John Cookson advertised a nine-shot

  repeating arm in the Boston Gazette on April 12, 1756, explaining that the rifle was “MADE by

  JOHN COOKSON, and to be sold by him at his House in Boston: A handy Gun . . . having a

  Place convenient to hold 9 Bullets” that “will fire 9 Times distinctly, as quick, or slow as you

  please[.]”93 Nor was Belton’s rifle the only groundbreaking firearms invention that David

  Rittenhouse was involved with during the war. Charles Willson Peale, who had formerly

  worked in saddlery, clockmaking, and silversmithing before becoming a world-renown

  portraitist, “prized a firelock” throughout the war “with a telescopic sight that he had built with

  help from the astronomer David Rittenhouse.”94

           44.   When the British believed that they were nearing victory, they began

  considering what to do with America after the war concluded. William Knox, as Undersecretary

  of State for the British government, proposed a prohibition on arms manufactories and licenses

  for arms imports:

                 The Militia Laws should be repealed and none suffered to be re-
                 enacted, [and] the Arms of all the People should be taken away …
                 nor should any Foundery or manufactuary of Arms, Gunpowder, or
                 Warlike Stores, be ever suffered in America, nor should any
                 Gunpowder, Lead, Arms or Ordnance be imported into it without
                 Licence.95



     93
          THE BOSTON-GAZETTE AND COUNTRY JOURNAL, April 12, 1756.
     94
         ATKINSON, THE BRITISH ARE COMING, supra note 77, at 493; see also Hugh T.
  Harrington, Charles Willson Peale’s “Riffle with a Tellescope to It”, J. AM. REVOLUTION (July
  10, 2013), https://allthingsliberty.com/2013/07/charles-willson-peales-riffle-with-a-
  tellescopeto-it/.
     95
       William Knox, Considerations on the Great Question, What is Fit to be Done with
  America (1777), reprinted in 1 SOURCES OF AMERICAN INDEPENDENCE: MANUSCRIPTS FROM
  THE COLLECTIONS OF THE WILLIAM L. CLEMENTS LIBRARY 176 (Howard H. Peckham ed.,
  1978).
                                                  22
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     III.         The Founders protected against the abuses they suffered under British rule
                  when forming their own federal government.

            45.      After winning the war, when the Americans were forming their own federal

  government, they protected against many abuses that they suffered under British rule. For

  example, the Sixth Amendment’s assurance of a “public trial, by an impartial jury” in criminal

  prosecutions reflected the colonists’ experiences of being denied jury trials.96 The Third

  Amendment’s prohibition against any soldier being “quartered in any house” in times of peace

  reflected their experiences of having “large bodies of armed troops” quartered “among” them.97

  The lifetime appointment for judges that the Constitution guarantees reflected their experiences

  when King George “made Judges dependent on his Will alone, for the tenure of their offices,

  and the amount and payment of their salaries.”98 And the Fourth Amendment’s protections

  reflected their experiences of being subjected to writs of assistance.99 The Second Amendment

  is therefore most reasonably understood as reflecting the Americans’ experiences of depending

  on privately made arms. As historian James Whisker explained,

                     Gun crafting was one of several ways Americans expressed their
                     unrestrained democratic impulses at the time of the adoption of the
                     Bill of Rights. . . . The climate of opinion was clearly such that it
                     would have supported a broad distribution of this right to the



     96
          See THE DECLARATION OF INDEPENDENCE para. 20 (U.S. 1776).
     97
          Id. at para 16.
     98
          Id. at para 11.
     99
         Parliament authorized writs of assistance to address smuggling in New England. James
  Otis passionately argued against the writs in Paxton’s Case, 1 Quincy 51 (Mass 1761). John
  Adams later wrote of Otis’s argument, “American independence was then and there born. . . .
  Every man of a crowded audience appeared to me to go away, as I did, ready to take arms
  against writs of assistance. Then and there was the first scene of the first act of opposition to the
  arbitrary claims of Great Britain.” 10 CHARLES FRANCIS ADAMS, THE WORKS OF JOHN ADAMS,
  SECOND PRESIDENT OF THE UNITED STATES 247–48 (1856).
                                                     23
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                   people over and against government. Anything else would have
                   been inconceivable.”100

           46.     Professor DeLay provides several examples of Founders—including the

  Continental Congress, Secretary of War Benjamin Lincoln, President George Washington, and

  Treasury Secretary Alexander Hamilton—advocating for a strong domestic arms industry.101

  But he notes that “these and similar calls to action long went unanswered” due to “the newly

  independent nation[’s]” lack of funds.102 The Founders’ desire for robust domestic arms

  production combined with the government’s inability to finance it demonstrates why it is

  implausible that the Founders would then leave private arms-making unprotected by the Second

  Amendment.

           47.     Throughout his Declaration, Professor DeLay points to examples of Americans

  relying on other sources for arms (such as imports from Europe) to belittle the tradition of

  Americans building privately made arms.103 But the point is not that everyone made arms and

  could produce them at a moment’s notice. Rather, the point is that many Americans did

  privately make firearms; that the government was aware of the practice and sometimes

  encouraged it; and that the practice was traditionally unregulated. The historical analysis might

  be different if the practice did not exist—for the argument could be made that there was no

  need to regulate activity that did not occur. But American governments were well aware of the

  practice of building privately made arms, and at the time of the Second Amendment’s

  ratification, governments had only ever encouraged it. Indeed, as America’s First Secretary of


     100
           WHISKER, THE GUNSMITH’S TRADE, supra note 15, at 91–92.
     101
           Resp. Appx., DeLay Dec., pp. 040–41, ¶ 63.
     102
           Id. at p. 041, ¶ 64.
     103
           See, e.g., id. at pp. 031–32, ¶ 50.
                                                 24
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  State Thomas Jefferson wrote to the British Ambassador, “Our citizens have always been free

  to make, vend, and export arms. It is the constant occupation and livelihood of some of

  them.”104

     IV.         Americans who were professionals in other occupations traditionally engaged
                 in gunsmithing, thus demonstrating how widespread and accessible the
                 required knowledge was.

           48.      Americans who were professionals in other occupations traditionally engaged in

  gunsmithing as an additional occupation or hobby. These other occupations included

  blacksmiths,105 whitesmiths,106 tinsmiths,107 locksmiths,108 silversmiths,109 farmers,110 clock and


     104
        Letter from Thomas Jefferson to George Hammond (May 15, 1793), in 7 THE WRITINGS
  OF THOMAS JEFFERSON 326 (Paul Ford ed., 1904) (rejecting British demand that the U.S. forbid
  individuals from selling arms to the French).
     105
         An 18th-century example is John Cutler from Massachusetts. HENRY J. KAUFFMAN,
  EARLY AMERICAN GUNSMITHS, 1650–1850, at 21 (1952). A 19th-century example is Mynham
  Cuttino from South Carolina. Id. at 22. Additionally, Jacob Reager, who “was a gunsmith in
  West Augusta, [West] Virginia during the Revolution” was referred to as a blacksmith in a
  1780 court order. WHISKER, THE GUNSMITH’S TRADE, supra note 11, at 23 (brackets in
  original).
     106
        An 18th-century example is Samuel Bonsall from South Carolina. KAUFFMAN, EARLY
  AMERICAN GUNSMITHS, supra note 105, at 10. A 19th-century example is Daniel Searles of
  Ohio. WHISKER, THE GUNSMITH’S TRADE, supra note 11, at 155.
     107
        Some 19th-century examples include Phineas Compton and Samuel Compton from
  Pennsylvania. Id.
     108
         An 18th-century example is Reuben Cookson of Massachusetts. Id. at 155. “Edward H.
  Tucker was a gunsmith, locksmith, and whitesmith between 1797 and 1801 in Alexandria,
  Virginia.” Id. at 162.
     109
          A 17th-century example is Hendrick Boelen from New York. THE WALDRON PHOENIX
  BELKNAP, JR. COLLECTION OF PORTRAITS AND SILVER 116 (John Marshall Phillips, et al. eds,
  1955). An 18th-century example is Benjamin Campbell from Pennsylvania. WHISKER, THE
  GUNSMITH’S TRADE, supra note 11, at 151. Some 19th-century examples include Absalom
  Garlick, Samuel Quest, and James Dillon of Pennsylvania. Id. at 148–49, 151. Quest advertised
  that he could “alter Gun Locks to the percussion principle, and warrant them to perform well.”
  Id. at 149.
     110
         Some 18th-century examples include David Dickey of Pennsylvania and John Doddridge
  of Virginia. Id. at 126, 145–46.
                                             25
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  watchmakers,111 carpenters,112 mechanics,113 cutlers,114 stonemasons,115 merchants,116 and at

  least one attorney.117 These examples suggest that the knowledge requisite to be a gunsmith was

  accessible and not limited to a very small and highly specialized subset of the population who

  had to devote all their time to gunsmithing.

           49.   Professor DeLay is correct that some of these gunsmiths focused on repairs,118

  but several also made firearms. For example, Ignatius Leitner, an attorney, advertised in 1800



     111
         Examples from the 18th century include Thomas Floyd of South Carolina, Frederick
  Solliday of Pennsylvania, and Joel Bailey of Pennsylvania. KAUFFMAN, EARLY AMERICAN
  GUNSMITHS, supra note 105, at 31 (Floyd); WHISKER, THE GUNSMITH’S TRADE, supra note 11,
  at 70 (Bailey), 147 (Solliday).
      Examples from the 19th century include Christian Plants, David Morton, Samuel Quest,
  Isaiah Lukens, and James Dillon of Pennsylvania. WHISKER, THE GUNSMITH’S TRADE, supra
  note 11, at 147 (Morton), 148–49 (Quest), 149 (Dillon, Lukens), 149–50 (Plants).
     112
         Examples from the 19th century include Godfrey Wilkin and John Wilkin of Virginia, as
  well as Alfred Marion Cone of Pennsylvania. Id. at 156–57.
     113
         Examples from the 19th-century include Christian Plants and Elias Brey of
  Pennsylvania. Id. at 149–50 (Plants); KAUFFMAN, EARLY AMERICAN GUNSMITHS, supra note
  105, at 12 (Brey).
     114
         Examples from the 18th century include Jacob Buchanan and Walter Dick of South
  Carolina. KAUFFMAN, EARLY AMERICAN GUNSMITHS, supra note 105, at 15 (Buchanan), 24
  (Dick).
     115
       An example from the 19th century is Christian Plants of Pennsylvania. WHISKER, THE
  GUNSMITH’S TRADE, supra note 11, at 149–50.
     116
       An 18th-century example is Joseph Parkinson of Virginia. Id. at 136–37. A 19th-century
  example is Andrew Saupp of Pennsylvania. Id. at 155.
     117
       Ignatius Leitner stated in an 1800 advertisement that he “continues . . . making rifles.”
  KAUFFMAN, EARLY AMERICAN GUNSMITHS, supra note 105, at 61.
     118
        Resp. Appx., DeLay Dec., p. 026, ¶ 41. For example, the son of farmer and frontiersman
  John Doddridge explained how John repaired firearms in his community:
                 Not possessing sufficient health for service on the scouts and
                 campaigns, his duty was that of repairing the rifles of his neighbors
                 when they needed it. In this business he manifested a high degree
                 of ingenuity. A small depression on the surface of a stump or log
                 and a wooden mallet were his instruments for straightening the gun
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  that he “continues to draw deeds, mortgages, Power of Attorney, apprentice indentures, Bills,

  Notes, State executor and administrators accounts” and also that he “continues and keeps hands

  at work in his former branches as making rifles, still cocks, casting rivets, gun mountings, etc.

  at the lowest prices.”119 Phineas Compton and his son Samuel Compton were tinsmiths and

  gunsmiths in 19th-century Pennsylvania who made “squirrel rifles [that] were known for their

  accuracy.”120 “Rueben Cookson of Boston advertised in 1754 that he made and mended guns

  and door locks.”121 Elias Brey from Pennsylvania “was a versatile mechanic and made a variety

  of mechanical contrivances including guns” in the 19th century.122 In 1992, James Whisker

  wrote that “Absalom Garlick ( –1876) was a silversmith in Providence Township, Bedford

  County, Pennsylvania, from 1863 until his death. A long rifle bearing his signature with a hand

  forged gun lock has recently been discovered.”123 Whisker also noted that he had “seen one

  James Dillon rifle”;124 Dillon was taxed in various years as a clockmaker (1819, 1826),

  watchmaker (1829, 1835, 1841, 1842), silversmith (1832), and gunsmith (1844).125 “Duncan


                   barrel when crooked. Without the aid of a bow string he could
                   discover the smallest bend in a barrel. With a bit of steel, he could
                   make a saw for deepening the furrows, when requisite. A few shots
                   determined whether the gun might be trusted.
  JOSEPH DODDRIDGE, NOTES ON THE SETTLEMENT AND INDIAN WARS OF THE WESTERN PARTS OF
  VIRGINIA AND PENNSYLVANIA FROM 1763 TO 1783, INCLUSIVE, TOGETHER WITH A REVIEW OF
  THE STATE OF SOCIETY AND MANNERS OF THE FIRST SETTLERS OF THE WESTERN COUNTRY 115
  (1912).
     119
           KAUFFMAN, EARLY AMERICAN GUNSMITHS, supra note 105, at 61 (emphasis added).
     120
           WHISKER, THE GUNSMITH’S TRADE, supra note 11, at 155.
     121
           WHISKER, THE GUNSMITH’S TRADE, supra note 11, at 154 (emphasis added).
     122
           KAUFFMAN, EARLY AMERICAN GUNSMITHS, supra note 105, at 12.
     123
           WHISKER, THE GUNSMITH’S TRADE, supra note 11, at 151.
     124
           Id. at 149.
     125
           Id.
                                                   27
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  Beard ( –1797) was a silversmith and clockmaker [i]n Delaware before the [Revolutionary]

  war. During the war he made gun locks on contract in a small manufactory he set up at

  Appoquinimink Hundred, with the Delaware Council of Safety.”126 Benjamin Rittenhouse

  (David’s younger brother) “was a clockmaker in Montgomery County, Pennsylvania, before the

  Revolution.”127 During the war he “manufactured [Committee of Safety] muskets” and also

  “privately enter[ed] the arms-making business,”128 before returning to clockmaking “in

  Philadelphia after the Revolution.”129 During the war, he superintended the Pennsylvania state

  gun factory” and “brought his own tools to the factory.”130 Daniel McKinney from

  Pennsylvania “was a locksmith and gunsmith by trade.”131 “About 1778 . . . he was captured by

  the Indians,” who later “sold him to the British.”132 “[T]he British then required him to make

  guns for the Indians, their allies fighting the Americans”—specifically, McKinney was required

  “to make gun barrels and to finish the guns.” It is reported that he “made the guns; but he

  spoiled” nearly all of them, including one that was used to shoot “seventeen times at Gen.

  Washington, but could not hit him once.”133 These many examples prove that the expertise of

  part-time gunsmiths often went beyond merely repairing arms.




     126
           Id. at 150.
     127
           Id. at 149.
     128
           BROWN, FIREARMS IN COLONIAL AMERICA, supra note 4, at 314.
     129
           WHISKER, THE GUNSMITH’S TRADE, supra note 11, at 149.
     130
           Id.
     131
       NELSON W. EVANS, A HISTORY OF SCIOTO COUNTY, OHIO, TOGETHER WITH A PIONEER
  RECORD OF SOUTHERN OHIO 130 (1903).
     132
           Id.
     133
           Id. at 130–31.
                                                 28
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        Executed this 5th day of March 2024,


        _________________________________
        Joseph G.S. Greenlee




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  EXPERIENCE
  Greenlee Law, PLLC: Attorney and Researcher                            2023 – Present
  NRA-ILA: Director, Litigation Counsel                                  2024 – Present
  Independence Institute: Research Associate in Constitutional Law       2023 – Present
  Heartland Institute: Policy Advisor for Legal Affairs                  2019 – Present
  FPC Action Foundation: Director of Constitutional Studies              2021 – 2023
  Firearms Policy Coalition: Director of Constitutional Studies          2019 – 2022
  Millennial Policy Center: Fellow in Constitutional Studies             2017 – 2021
  Steamboat Institute: Emerging Leaders Advisory Council                 2016 – 2019
  Attorney at Law: Constitutional, Appellate, and Family Law             2014 – 2019

  EDUCATION
  Juris Doctor – University of Denver Sturm College of Law (2014)
  Bachelor of Science – Park University (2011)

  ADMISSIONS
  Idaho
  Colorado (inactive)
  United States Supreme Court
  U.S. Court of Appeals for the First Circuit
  U.S. Court of Appeals for the Second Circuit
  U.S. Court of Appeals for the Third Circuit
  U.S. Court of Appeals for the Fourth Circuit
  U.S. Court of Appeals for the Fifth Circuit
  U.S. Court of Appeals for the Sixth Circuit
  U.S. Court of Appeals for the Seventh Circuit
  U.S. Court of Appeals for the Ninth Circuit
  U.S. Court of Appeals for the Tenth Circuit
  U.S. Court of Appeals for the Eleventh Circuit
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        Second Amendment Foundation and Citizens Committee for the Right to Keep and
        Bear Arms
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        National Rifle Association
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